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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                               (COLUMBIA DIVISION)



SAMUEL R. FLOYD, III on behalf of
Himself and all others                         No: 3:19-3304-MBS
similarly situated,
                                               CLASS ACTION
Plaintiff,
                                               JURY TRIAL DEMANDED
v.

Deloitte & Touche, LLP,
Deloitte LLP,

Defendants.


                        CLASS ACTION SECURITIES COMPLAINT



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Jonothan Tanner Ball                           Jessee & Jessee
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                                                                                    1	  
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        Plaintiff, Samuel R. Floyd, III, (“Plaintiff”) individually and on behalf of all others

similarly situated (the “Class”) through his undersigned attorneys, makes the following

allegations against Defendants, Deloitte & Touche, LLP and Deloitte, LLP (“Deloitte”) based on

his personal knowledge, information, belief, and on the investigation of Plaintiff’s counsel,

which included a review of relevant U.S. Securities and Exchange Commission filings by

SCANA Corporation (“SCANA”). These allegations are also based upon records of judicial

proceedings in the United States District Court for the District of South Carolina, Columbia

Division, as well as, regulatory filings, reports, press releases, depositions and answers to

Interrogatories filed in the South Carolina State Court and regulatory proceedings. Public

statements, news articles and security analyst reports about SCANA and other readily obtainable

information have been used in the Complaint. Plaintiff believes that evidentiary support exists

for the allegations set forth herein.

                                 I.     JURISDICTION and VENUE

            1. This Complaint asserts claims under Section 10b of the Exchange Act, 15 U.S.C.

                §§ 78j(b) and 78t(a), and the rules and regulations promulgated thereunder,

                including SEC rule 10b-5, 17 C.F.R. § 240.10b-5.

            2. This Court has jurisdiction over the subject matter of this action under Section 27

                of the Exchange Act, 15 U.S.C. § 78aa and 28 U.S.C. §§ 1331 and 1337.

            3. Venue is proper in the District under Section 27 of the Exchange Act, 15 U.S.C. §

                78aa, and 28 U.S.C. § 1391 (b), (c), and (d). Many of the acts and omissions that

                constitute the alleged violations of law, including the dissemination to the public

                of untrue statements of material facts, occurred in this District.




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          4. In connection with the acts alleged in this Complaint, Defendants, directly or

             indirectly, used the means and instrumentalities of interstate commerce, including

             the United States mail, interstate telephone communications, and the facilities of

             national securities exchange.

                                     II.     THE PARTIES

             PLAINTIFF

          5. Plaintiff, Samuel R. Floyd, III, (“Floyd”) purchased and/or otherwise acquired

             shares of SCANA common stock during the Class Period, as defined below, and

             was damaged as a result of Defendants’ wrongdoing as alleged in this Complaint.

             DEFENDANTS

          6. Deloitte & Touche, LLP is the accounting arm of Deloitte, LLP, the United States

             affiliate of the “Big 4” international accounting firm Deloitte Touche Tohmatsu

             Limited headquartered in the United Kingdom. Deloitte & Touche, LLP offers

             audit and enterprise risk services. As part of its business, the firm provides clients

             with audit and financial statement reviews. Other services include financial

             reporting, regulatory updates, employee benefit audits and venture capital

             services. Deloitte & Touche, LLP has more than 90 offices and 95,000

             employees in the United States. It is registered with the Office of the South

             Carolina Secretary of State and is authorized to conduct business, and in fact does

             business, in South Carolina.

          7. Deloitte, LLP also manages U.S. subsidiaries that offer tax, consulting, and

             financial advisory services. Deloitte, LLP is the largest professional service

             organization in the U.S. with U.S. revenue, in 2018, of $19.9 billion.



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          8. Deloitte & Touche, LLP and Deloitte, LLP (“Deloitte”) are Delaware limited

             liability partnerships duly organized and exist under the laws of the State of

             Delaware, with its main office at 30 Rockefeller Plaza, New York, New York.

             Deloitte also has an office at 550 South Tryon Street in Charlotte, North Carolina.

          9. For the purposes of this Complaint, references to Deloitte refer to Deloitte &

             Touche, LLP and Deloitte, LLP or both entities, unless otherwise noted.

          DELOITTE AGENTS

             Eileen Little

          10. Eileen F. Little (“Little”) is a certified public accountant. Little joined Deloitte as

             a staff auditor in the Atlanta office in 1992 and was admitted as an Audit Partner

             in 2011. Little served as the Audit Engagement Partner for both SCANA and

             SCE&G for the 2014, 2015, and 2016 engagements.

             Sean Bird

          11. Sean M. Bird (“Bird”) is a certified public accountant with a Bachelor of Science

             degree in Business Administration in Accounting from Penn State University. He

             joined Deloitte as a staff auditor in May 1997 and was admitted as an Audit

             Partner in 2012. Bird served as the Audit Engagement Partner for both SCANA

             and SCE&G for the 2017 and 2018 engagements. In the deposition of Jimmy

             Addison, Bird was identified as the Audit Engagement Partner that informed

             him that Deloitte’s local, as well as the national offices, had reviewed their

             audit work in disclosures, post abandonment of the Project, and did not see

             “any gaps” in disclosures made in the financial statements.

                             III.   RELEVANT NON-PARTIES



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      SCANA Corporation

   12. SCANA was incorporated in South Carolina and maintained its principal

      executive offices at 220 Operations Way, Cayce, South Carolina 29033. During

      the Class Period, SCANA’s stock was traded on the New York Stock Exchange

      (“NYSE”) under the ticker symbol “SCG”. For purposes of this Complaint,

      references to SCANA refer to SCANA, SCE&G, or both companies, unless

      otherwise noted.

   13. SCANA’s principal subsidiary, South Carolina Electric & Gas (“SCE&G”) is a

      regulated public utility engaged in the generation, transmission, distribution and

      sale of electricity primarily in South Carolina. Upon information and belief,

      Deloitte maintained an office at SCANA’s corporate office in Cayce, South

      Carolina.

             THE OFFICER AND DIRECTOR NON-PARTIES OF SCANA

              The responsibility and actual persons that performed all of the
              reporting requirements for SCANA and SCE&G to the Securities
              Exchange Commission (“SEC”), state regulatory bodies and
              shareholders all were certified public accountants who had strong
              current or former senior leadership positions with Deloitte. In
              addition, all of these persons had extensive experience in the investor-
              owned electric utility industries, including clients that were operating
              and building nuclear power plant projects.

      KEVIN B. MARSH

   14. Kevin B. Marsh (“Marsh”) is a certified public accountant with a Bachelor of

      Business Administration degree in Accounting from the University of Georgia.

      Marsh worked at Deloitte in Columbia, South Carolina, for seven years prior to

      joining SCANA in 1984. Marsh became Vice President and Chief Financial

      Officer (“CFO”) of SCANA in 1996, President of SCE&G in 2006, and President

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             and Chief Operating Officer (“COO”) of SCANA in January 2011. In December

             2011, Marsh became Chairman of the SCANA Board of Directors and Chief

             Executive Officer (“CEO”) of SCANA. On October 31, 2017, SCANA

             announced that Marsh would resign as a director effective December 31, 2017.

             JIMMY E. ADDISON

          15. Jimmy E. Addison (“Addison”) is a certified public accountant with a Bachelor of

             Science degree in Business Administration in Accounting and a Masters of

             Accountancy degree from the University of South Carolina. Addison worked at

             Deloitte for seven years prior to joining SCANA. Addision served as SCANA’s

             Chief Financial Officer (“CFO”) since April 2006, and its Executive Vice

             President since January 2012. On October 31, 2017, SCANA announced that

             Addison would become SCANA’s CEO and relinquish his role as CFO effective

             January 1, 2018. In an October 3, 2018 deposition, Addison said he was not

             aware of details of the Bechtel Report, but relied on Deloitte as to disclosure

             of Bechtel findings in SCANA’s financial statements and filings with the

             Securities and Exchange Commission (“SEC”).

             JAMES E. SWAN

          16. James E. Swan (“Swan”) is a certified public accountant with a Bachelor of

             Science Degree in Business Administration in Accounting from Clemson

             University. Swan worked at Deloitte for eighteen years, ultimately becoming an

             Audit Partner in the Washington, D.C. office. Swan joined SCANA in August

             2000 as Vice President and Controller. James Swann was the lead person from

             SCANA that interacted day to day with the Deloitte audit engagement team.



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             GREGORY E. ALIFF, SCANA BOARD NON-PARTY AND RETIRED

             DELOITTE VICE CHAIRMAN

          17. Gregory E. Aliff (“Aliff”) is a certified public accountant with a Bachelor of

             Science degree in Business Administration in Accounting, and a Masters of

             Business Administration degree from Virginia Tech University. Aliff retired

             from Deloitte & Touche, LLP in May 2015 after serving as a Partner for 28 years.

             During his career at Deloitte & Touche, LLP, Aliff became the company’s Vice

             Chairman. Aliff served as Vice Chairman and Senior Partner of the Energy &

             Resources division of Deloitte, LLP. Aliff was also the leader of Deloitte’s

             Energy and Natural Resources Management services. Aliff retired from Deloitte

             & Touche, LLP in May 2015 and became a member of the SCANA Board of

             Directors and head of SCANA’s Audit Committee in October 2015, prior to the

             first Bechtel Report.

             SOUTH CAROLINA PUBLIC SERVICE AUTHORITY (SANTEE COOPER)

             AND LONNIE CARTER

          18. South Carolina Public Service Authority, also known as Santee Cooper (“Santee

             Cooper”) is the South Carolina’s state-owned electric and water utility. Santee

             Cooper was founded in 1934 and maintains principal executive offices at One

             Riverwood Drive, Monks Corner, South Carolina, 29461. Santee Cooper

             provides electricity to more than two million South Carolina customers.

          19. Lonnie Carter (“Carter”) is the former President and Chief Executive Officer

             (“CEO”) for Santee Cooper. Carter retired on August 27, 2017 after serving 35

             years (last 13 years as CEO) in various financial and planning positions. Carter



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             received a Bachelor of Science degree in Business Administration in 1982, and a

             Masters of Business Administration degree in 1987, both from The Citadel.

                          IV.    CLASS ACTION ALLEGATIONS

          20. Plaintiff brings this action as a class action pursuant to Rule 23(a) and (b)(3) of

             the Federal Rules of Civil Procedure on behalf:

             of all persons or entities who purchased or otherwise acquired SCANA
             publicly-traded securities from February 27, 2015 through December 20, 2017,
             inclusive, and who were damaged thereby (the”Class”). Excluded from the
             Class are: Defendants; members of the immediate family of any Defendant
             who is an individual; the officers and directors of SCANA and Deloitte during
             the Class Period; any firm, trust, corporation, or other entity in which any
             Defendant has or had a controlling interest; the Company’s employee
             retirement and benefit plan(s); and the legal representatives, affiliates, heirs,
             successors-in-interest, or assigns of any such excluded person or entity.

          21. The members of the Class are so numerous that joinder of all members is

             impracticable. Throughout the Class Period, SCANA common stock was actively

             traded on the New York Stock Exchange. While the exact number of Class

             members is unknown to Plaintiff at this time and can be ascertained only through

             appropriate discovery, Plaintiff believes that there are hundreds or thousands of

             members in the proposed Class. Record owners and other members of the Class

             may be identified from records maintained by SCANA or its transfer agent, and

             may be notified of the pendency of this action by mail, using the form of notice

             similar to that customarily used in securities class actions.

          22. The disposition of the claims in a class action will provide substantial benefits to

             the parties and the Court. As of October 31, 2017, SCANA had 142,616,254

             shares of stock outstanding, which were owned publicly by at least hundreds of

             persons or entities.



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    23. Common questions of law and fact exist as to all members of the Class and

       predominate over any questions solely affecting individual members of the Class.

       Among the questions of law and fact common to the Class are:

          Whether the federal securities laws were violated by Defendant Deloitte’s

            acts as alleged herein;

          Whether Defendant Deloitte acted knowingly or recklessly in issuing false

            and misleading financial statements;

          Whether the prices of SCANA securities during the Class Period

            were artificially inflated because of Defendant Deloitte’s conduct complained

            of herein; and

          Whether the members of the Class have sustained damages and, if so,

            what is the proper measure of damages.

    24. Plaintiff’s claims are typical of the claims of other members of the Class, as all

       members of the Class are similarly affected by Defendant Deloitte’s wrongful

       conduct in violation of the federal law that is complained of herein.

    25. Plaintiff will adequately protect the interests of the Class and has retained

       competent counsel experienced in class action securities litigation. Plaintiff has

       no interests which conflict with those of the Class.

                        V.    FACTUAL BACKGROUND

               AND SUBSTANTIVE ALLEGATIONS OF FRAUD

    26. This securities fraud class action asserts claims arising from one of the most high-

       profile fiascos in modern South Carolina history—SCANA’s failed, $9 Billion

       decade-long effort to build two nuclear reactors in South Carolina in partnership



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              with state-owned utility South Carolina Public Service Authority (“Santee

              Cooper”).

           27. Deloitte is the leading auditor of financial statements for the investor-owned

              electric utility industry in the United States.

           28. Deloitte has served as the auditors of SCANA Corporation since 1945.

           29. Deloitte issued unqualified audit reports on SCANA and SCE&G’s financial

              statements for the years ending December 31, 2014, December 31, 2015,

              December 31, 2016 and December 31, 2017, certifying that it had audited those

              statements in accordance with the standards of the Public Company Accounting

              Oversight Board for the United States (“PCAOB”) and that the statements

              presented the financial position of SCANA and SCE&G fairly and in conformity

              with Generally Accepted Accounting Principles (“GAAP”).

           30. As set forth below, Deloitte knowingly or recklessly abdicated its responsibilities

              in connection with its audits of SCANA and SCE&G’s financial statements for

              fiscal years 2014 through 2017. Had Deloitte conducted its audits in compliance

              with Generally Accepted Auditing Standards (“GAAS”) and PCAOB standards,

              the investors, including Plaintiff and the Class, would have been furnished with

              the information that there was concern that the project would not be finished in

              time to receive the tax credits.

           Deloitte’s Unique Knowledge of South Carolina and Georgia Nuclear

           Construction Projects

           31. In 2008, after SCANA and Santee Cooper announced the two nuclear units in

              South Carolina, Georgia Power, a wholly owned subsidiary of the Southern



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              Company, announced construction of two new nuclear plants to be built in

              Georgia.

           32. South Carolina and Georgia were using Westinghouse’s AP1000 design. The two

              Projects were considered “sister projects” and Deloitte was the outside auditor on

              both Projects.

           33. Deloitte had the institutional knowledge of knowing the problems, delays and

              impacts of both AP1000 on both companies and the resulting disclosures that

              should have been made to the investors of SCANA.

           Financial Plan for the Georgia Nuclear Project

           34. The Georgia Project called for using debt and equity to fund the construction

              costs. The Georgia Project received federal loan guarantees from the Department

              of Energy totaling $12 Billion dollars as of March 2019. The loan guarantees

              from the federal government to the Georgia Project precluded the use of

              production tax credits.

           South Carolina Nuclear Projects and Federal Production Tax Credits

           35. In order to fund the construction of nuclear plants, the federal government passed

              the Energy Policy Act of 2005 (“the Energy Project Act”). The Act created a

              federal production tax credit for new nuclear production projects. The tax credits

              were only available if the projects were in service before January 1, 2021. If the

              South Carolina plants were not in service by the end of 2020, SCANA would lose

              approximately $1.4 Billion dollars in tax credits.

           36. This federal production tax credit deadline was the overriding factor that

              ultimately stopped SCANA and the South Carolina Project.



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           37. Plaintiff alleges that Deloitte knew SCANA’s financial ability from the start of

              the South Carolina Projects and knew that SCANA could not financially complete

              the Project unless the January 2021 date was achieved.

           BASE LOAD REVIEW ACT AND SOUTH CAROLINA PUBLIC SERVICE

           COMMISSION

           38. In 2007, the South Carolina legislature passed the Base Load Review Act, South

              Carolina Code Annotated §§ 58-33-210, et seq. (“BLRA”). The BLRA was

              designed to allow utility companies to recoup “prudently incurred” capital and

              operating costs for a base load generating power plant during its construction,

              rather than waiting until it was built. Prior to the BLRA’s passage, South

              Carolina required utilities to complete construction and begin commercial

              operations before charging ratepayers for the costs associated with that

              construction.

           39. SCANA’s base load review application contained, among other things, the

              construction schedule, the capital costs, and the schedule for incurring those

              costs, the selection of principal contractors and suppliers, the proposed rate design

              used in formulating revised rates, and the revised rates that the utility intended to

              put in place after the issuance of a base load review order. South Carolina Code

              Annotated § 58-33-250 (2007).

           40. The BLRA contained some backstops against imprudently incurred costs, and

              thus put SCANA at risk of being forced to bear them. Specifically, South

              Carolina Code Annotated § 55-33-275(E) of the Base Load Review Act provided:

              “In cases where a party proves by a preponderance of the evidence that
               there has been a material and adverse deviation from the approved schedules,

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               estimates, and projections set forth in Section 58-33-270(B)(1) and
               58-33-270(B)(2), as adjusted by the inflation indices set forth in
               Section 58-33-270(B)(5), the commission may disallow the additional
               capital costs that result from the deviation, but only to the extent that
               the failure by the utility to anticipate or avoid the deviation, or to minimize
               the resulting expense, was imprudent considering the information available
               at the time that the utility could have acted to avoid the deviation or minimize
               its effect.”

              Further, while the BLRA allows a utility to recover costs from ratepayers even for

              abandoned construction projects, such recovery is not allowed “to the extent that

              the failure by the utility to anticipate or avoid the allegedly imprudent costs, or to

              minimize the magnitude of the costs, was imprudent considering the information

              available at the time that the utility could have acted to avoid or minimize the

              costs.” Thus, Deloitte’s management and Board were on notice from the outset

              that the Company’s ability to recover costs from South Carolina ratepayers was

              limited by the BLRA’s prudence requirement.

              THE BLRA RATES BEING BILLED AND COLLECTED FROM THE

              RATEPAYER DURING THE CONSTRUCTION PERIOD WERE

              MATERIAL TO SCANA’S INCOME STATEMENT

           41. The construction costs were being reflected on SCANA’s Balance Sheet as an

              asset and being represented to the investing public that its costs were going to be

              recovered in future rates as an operating generating plant. Both the Balance

              Sheet and Income Statement are part of the SCANA financial statements

              that Deloitte gave an unqualified, i.e., “clean” opinion, the highest type of

              opinion a CPA firm can issue, during the Class Period.




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              In actuality, SCANA ended up with a partially-completed, abandoned nuclear

              plant that is not only of no value (a non-asset), it is actually a liability, as

              ultimately the site must be returned back to raw ground at a great expense.

              DELOITTE AUDITED COST SUBMISSIONS ANNUALLY PLUS

              SPECIAL AUDIT STARTING IN 2015

           42. The record has numerous incidents of SCANA making incomplete, untruthful and

              direct omissions of the true costs to complete the VC Summer Project, the

              progress to date and the true estimated completion date to the PSC, ORS, SEC,

              the public and its investors that were inconsistent with their own monthly internal

              reporting and Bechtel assessment.

              All of this was known to the Defendants throughout the Class Period. Deloitte had

              access to all of this information during its annual and special audits of SCANA

              and SCE&G. Deloitte was required to audit SCANA’s ratemaking submissions to

              the PSC and the revenue internal control systems (including the billing to its

              SCANA customers) for compliance with those submissions and the internal

              reports supporting those calculations. This is required by GAAS and PCAOB

              auditing standards.

              The BLRA rate component was a large part of the average bill to SCANA

              residential customers averaging $27 per month. This was a material misstatement

              of SCANA revenue and represents hundreds of millions of dollars of false

              revenue reported annually that resulted in overstating of Net Income and Earning

              Per Share. All of this had the impact of overstating SCANA stock price. These




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              material misstatements were in the financial statements of SCANA that Deloitte

              certified as being free of material misstatements.

              In a recent settlement of a class action lawsuit on this very issue SCANA’s

              successor, Dominion Energy, has agreed to refund $2 Billion dollars of this

              falsely collected BLRA revenue to its customers.

           43. SCANA Corporation’s construction costs and accounting for the VC Summer

              Project were problematic. The two reasons for this are (1) BLRA and (2) the

              federal production tax credit. These two sources of funding represented

              approximately half of the originally budgeted costs of SCANA’s share of the

              Project. SCANA would be financially unable to take on the VC Summer Project

              without these two sources of funds.

           INSIDERS AND DELOITTE KNEW IN EARLY 2015 THAT THE SOUTH

           CAROLINA PROJECT WOULD NEVER MEET THE TAX CREDIT

           DEADLINE

           44. Ken Browne was an engineer with SCANA, whose deposition was taken after

              SCANA failed. Browne stated that by 2014, there was substantial doubt that the

              Project would be completed at all and that one did not need the Bechtel Report to

              understand the problem, Lightsey, et. al. v. South Carolina Electric & Gas

              Company, et. al. Case No. 2017-CP-25-0335.

           45. Mr. Browne provided:

           “Performance Factor (“PF”) is the critical measurement concerning construction

           progress. Performance Factor is the ratio of actual craft labor hours to be budgeted

           for the Project”.



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           46. In January 2015, Browne prepared a chart entitled, “Target Construction

              Productivity,” which he shared with his superiors at SCANA. Browne’s analysis

              was that, considering the history, completion of the Project would take 26.5 more

              years to complete (attached hereto as “EXHIBIT 1”).

           DELOITTE SPECIAL AUDIT

           47. Relying on Browne’s report, SCANA commissioned Deloitte to do a special audit

              beginning in early 2015. Plaintiff and Plaintiff’s Class discovered the existence of

              Deloitte’s special audit of construction costs only by reading the sworn answers to

              interrogatories filed by SCANA in the case of Lightsey et al v. SCE&G and

              SCANA Case No. 2017-CP-25-0335 in Hampton, South Carolina after the South

              Carolina Project failed.

           48. The filed interrogatory sworn by SCANA provided:

              “QUESTION: State the name of any consultants, companies, and/or other
              entities who reviewed or provided advice, audits or similar services on the VC
              Summer Project, and for each entity identified provide:
              a. The name of the person, company or entity;
              b. The purpose for that person, company or entity’s services;
              c. The date the consultant, company or service performed review or otherwise
                  undertook services on the VC Summer Project;
              d. The outcome of those services;
              e. The name of any employees of SCE&G and/or SCANA with whom the
                  entity interacted;
              f. Whether a report was generated as part of the services.
              ANSWER: Defendants engaged Deloitte in 2015 to audit the schedule for
              Project costs. Deloitte prepared an audit letter in connection with this
              engagement.”

           49. Deloitte prepared an engagement letter to SCANA for the special audit of

              construction costs. Deloitte and SCANA knew before Bechtel was hired to do a

              construction progress report that the project would have never met the tax credit

              deadline.

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           BECHTEL RETAINED BY SCANA

           50. Bechtel Engineering was retained by SCANA to assess the progress of

              Westinghouse on the nuclear project. Bechtel started the assessment on August

              10, 2015.

           51. As part of standard audit procedures, Deloitte received a letter from Attorney

              George Wenick of Smith, Curie & Hancok, LLP informing Deloitte that Wenick

              and his firm had been hired by SCANA to engage Bechtel to perform the

              assessment of Westinghouse’s work on the Project, (attached hereto as “EXHIBIT

              2”).

           52. Deloitte never made any mention of Bechtel or any of Bechtel’s reports in any

              10K prepared for SCANA during the Class Period.

           53. Bechtel’s assessment, finalized in a 130-page report on October 22, 2015, was not

              made public. Bechtel concluded that the schedule to secure the tax credit would

              be impossible to achieve.

           54. In an October 3, 2018 deposition, after the failure of the South Carolina Project,

              Jimmy Addison, CFO of SCANA testified, as follows:

              Q.      You were signing your company's or certifying your company's SEC
                      filings during the time of the Bechtel assessment, correct?
              A.      Correct.

              Q.      It doesn't disturb you at all that the company spent seven figures on
                      assessment in 2015 regarding the status—regarding the project and
                      you weren't made aware of the results of that assessment while you
                      were certifying these SEC filings?
              A.      It does not. And part of that conclusion is we've got an
                      international accounting firm that's auditing our records, that has
                      gone back and looked at it completely and said the(y) did not see
                      any gaps in our disclosures.

              Q.      Is that Deloitte?

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              A.     Yes.

              Q.     You used to work there, right?
              A.     I did about three decades ago.

              Q.     So you trusted your accountants on that issue?
              A.     I have a great deal of confidence that they thoroughly vetted that
                     issue especially with the political and regulatory ramifications of it.

              Q.     Sitting here now, do you know that they did vet that issue?
              A.     Yes.

              Q.     How do you know that?
              A.     They told me that.

              Q.     When?
              A.     I don't know specifically when, sometime obviously post
                     abandonment.

              Q.     Did you have a conversation with them specifically about that issue?
              A.     The conversation wasn't specific about that. It was conversation
                     that—a topic that they offered in the middle of another—in the
                     middle of another meeting.

              Q.     What was the meeting about?
              A.     A routine quarterly meeting where they meet with me before the
                     financials are published.

              Q.     And how do they bring up the Bechtel report?
              A.     I don't remember the details of it.

              Q.     What did they tell you about it?
              A.     That they had gone back with their local team and their national
                     team and reviewed all the disclosures at the point in time that they
                     were made, and read this document. They did not see any gaps in the
                     disclosure at the time they were made.

              Q.     And who from Deloitte told you that?
              A.     The partner at Deloitte now, Sean Bird.


           55. On July 31, 2017 SCANA issued a press release announcing that it was

              abandoning the South Carolina Nuclear Project.




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              DELOITTE’S FALSE AND MISLEADING AUDIT REPORTS RELIED

              UPON BY INVESTORS

           56. The following audit reports were issued as a result of audits by Deloitte on

              SCANA and SCE&G’s financial reports and included by SCANA in its annual

              Form 10-K filings. The audit report performed in 2015 by Deloitte of the VC

              Summer Project costs has not been released and is not included.

           57. Every audit report of SCANA’s and SCE&G’s financial statements by Deloitte

              for 2014-2017 was a “clean opinion,” an unqualified report that the financial

              statements were fairly presented in all material respects. This is the highest level

              of audit report a Certified Public Accountant (“CPA”) may issue. These reports

              were all false and misleading. Again, it is extremely significant that Deloitte

              was additionally retained in 2015 by SCE&G to specifically audit the

              construction schedule of the VC Summer Nuclear Project, including issuing a

              report.

           58. In addition, Deloitte consented to the use of its audit reports in each of SCANA’s

              SEC Form 10K filings during the Class Period. In each of the unqualified audit

              reports on SCANA’s and SCE&G’s 2014-2017 financial statements, Deloitte

              certified that:

              a.        Deloitte had audited SCANA’s and SCE&G’s financial statements in

              accordance with auditing standards generally accepted in the United States;

              b.        Deloitte had planned and performed those audits “to obtain reasonable

              assurance about whether the financial statements are free of material

              misstatement;”



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       c.     In Deloitte’s opinion, SCANA’s and SCE&G’s financial statements

       “present fairly, in all material respects, the consolidated financial position” of

       SCANA and SCE&G “in conformity with accounting principles generally

       accepted in the United States;” and

       d.     Deloitte’s audits provided a “reasonable basis” for Deloitte’s opinions.

       During the years 2014, 2015, 2016, and 2017, the fees paid by SCANA and

       SCE&G to Deloitte were reported to be $12,461,917.

       False & Misleading Statements & Omissions by Deloitte & SCANA in

       Federal Filings

    59. In SCANA’s Form 8-K filed October 27, 2015, SCANA wrote, in part:

       a.     “SCE&G announces an amendment to the Engineering, Procurement, and
              Construction Agreement for AP1000 plants at VC Summer Station (“EPC
              Amendment”). The EPC Amendment “revises the Guaranteed
              Substantial Completion Dates (GSCDs) for Units 2 and 3 to August 31,
              2019 and 2020, respectively.” The EPC Amendment further stated,
              “[T]he total gross construction cost of the [Nuclear] Project [was raised
              to] approximately $7.113 billion [$5.5 billion in 2007 dollars].”

       b.     The 8-K announced SCE&G’s “exclusive and irrevocable option to, at any
              time prior to November 1, 2016, further amend the EPC Agreement” and
              exercise a “fixed price option [that] would result in SCE&G’s total Project
              costs to increase by approximately $774 million over the $6.827 billion”
              approved by the PSC in September 2015. If exercised, this fixed price
              option “would bring the total gross construction cost of the Project to
              approximately $7.601 billion” for SCANA.

    60. In SCANA’s Form 10-Q for the third quarter of 2015, signed and certified as

       accurate pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”) by Marsh and

       Addison and filed on November 6, 2015, SCANA stated, in relevant part:

       a.     “Based on the guaranteed substantial completion dates provided above,
              both New Units are expected to be operational and to qualify for the
              nuclear production tax credits; however, further delays in the schedule
              or changes in tax law could impact such conclusions.”

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              b.     “Among other things, upon effectiveness, the October 2015 Amendment
                     would ‘. . . revise the guaranteed substantial completion dates of Units 2
                     and 3 to August 31, 2019 and 2020, respectively . . .’

              c.     “Under the October 2015 Amendment, SCE&G’s total estimated project
                     costs will increase by approximately $286 million over the $6.8 billion
                     approved by the SCPSC in September 2015, and will bring its total
                     estimated gross construction cost of the project (including escalation
                     and AFC) to approximately $7.1 billion.”
              d.      “Finally, upon effectiveness, the October 2015 Amendment would provide
                     SCE&G and Santee Cooper an irrevocable option, until November 1,
                     2016 and subject to regulatory approvals, to further amend the EPC
                     Contract to fix the total amount to be paid to the Consortium for its entire
                     scope of work on the project (excluding a limited amount of work within
                     the time and materials component of the contract price) after June 30,
                     2015 at $6.082 billion (SCE&G’s 55% portion being approximately
                     $3.345 billion). This total amount to be paid would be subject to
                     adjustment for amounts paid since June 30, 2015. Were this fixed price
                     option to be exercised, the aggregate delay-related liquidated damages
                     amount referred to in (iii) above would be capped at $338 million per
                     unit (SCE&G’s 55% portion being approximately $186 million per unit),
                     and the completion bonus amounts referred to in (iv) above would be $150
                     million per New Unit). The exercise of this fixed price option would
                     result in SCE&G’s total estimated project costs increasing by
                     approximately $774 million over the $6.8 billion approved by the SCPSC
                     in September 2015, and would bring its total estimated gross
                     construction cost (including escalation and AFC) of the project to
                     approximately $7.6 billion.”

              e.     “Under the BLRA, the SCPSC has approved, among other things, a
                     milestone schedule and a capital costs estimates schedule for the New
                     Units. This approval constitutes a final and binding determination that
                     the New Units are used and useful for utility purposes, and that the capital
                     costs associated with the New Units are prudent utility costs and
                     expenses and are properly included in rates so long as the New Units are
                     constructed or are being constructed within the parameters of the
                     approved milestone schedule, including specified schedule
                     contingencies, and the approved capital costs estimates schedule.”

              DELOITTE & SCANA failed to disclose the existence of known trends or

              uncertainties within the Company regarding the Project, namely, that

              SCANA was not going to be able to complete construction of the Project



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       by the end of 2020, was not going to be eligible to receive $1.4 billion in

       Nuclear Tax Credits, and that failure to complete the Project by the end

       2020 would have material unfavorable impact on revenues.


    61. In SCANA’s Form 10-K filed on February 26, 2016, SCANA repeated its earlier

       statement made in SCANA’s Form 10-Q for the third quarter of 2015, signed and

       certified as accurate pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”) by

       Marsh and Addison and filed on November 6, 2015 stating, in relevant part:

              “Under the BLRA, the SCPSC has approved, among other things, a
              milestone schedule and a capital costs estimates schedule for the New
              Units. This approval constitutes a final and binding determination that
              the New Units are used and useful for utility purposes, and that the
              capital costs associated with the New Units are prudent utility costs and
              expenses and are properly included in rates so long as the New Units are
              constructed or are being constructed within the parameters of the
              approved milestone schedule, including specified schedule
              contingencies, and the approved capital costs estimates schedule.”

       Again, Defendants and SCANA failed to disclose the existence of known trends

       or uncertainties within the Company regarding the Project, namely, that

       SCANA was not going to be able to complete construction of the Project

       by the end of 2020, was not going to be eligible to receive $1.4 billion in

       Nuclear Tax Credits, and that failure to complete the Project by the end

       2020 would have a material unfavorable impact on revenues.


    62. In SCANA’s Form 10-Q filed on May 6, 2016:

              SCANA stated, “Under the BLRA, the SCPSC has approved, among
              other things, a milestone schedule and a capital costs estimates schedule
              for the New Units. This approval constitutes a final and binding
              determination that the New Units are used and useful for utility
              purposes, and that the capital costs associated with the New Units are
              prudent utility costs and expenses and are properly included in rates so

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                     long as the New Units are constructed or are being constructed within
                     the parameters of the approved milestone schedule, including specified
                     schedule contingencies, and the approved capital costs estimates
                     schedule.”

              Again, Defendants and SCANA failed to disclose the existence of known

              trends or uncertainties within the Company regarding the Project, namely,

              that SCANA was not going to be able to complete construction of the

              Project by the end of 2020, was not going to be eligible to receive $1.4

              billion in Nuclear Tax Credits, and that failure to complete the Project by the end

              2020 would have a material unfavorable impact on revenues.


           63. In SCANA’s Form 10-Q filed on August 5, 2016:

                     SCANA stated again, “Under the BLRA, the SCPSC has approved,
                     among other things, a milestone schedule and a capital costs estimates
                     schedule for the New Units. This approval constitutes a final and
                     binding determination that the New Units are used and useful for utility
                     purposes, and that the capital costs associated with the New Units are
                     prudent utility costs and expenses and are properly included in rates so
                     long as the New Units are constructed or are being constructed within
                     the parameters of the approved milestone schedule, including specified
                     schedule contingencies, and the approved capital costs estimates
                     schedule.”

                     SCANA stated again, “Under the October 2015 Amendment, SCE&G’s
                     total estimated project costs will increase by approximately $286 million
                     over the $6.8 billion approved by the SCPSC in September 2015, and
                     will bring its total estimated gross construction cost of the project
                     (including escalation and AFC) to approximately $7.1 billion.”

              Again, Defendants and SCANA failed to disclose the existence of known

              trends or uncertainties within the Company regarding the Project, namely,

              that SCANA was not going to be able to complete construction of the

              Project by the end of 2020, was not going to be eligible to receive $1.4




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       billion in Nuclear Tax Credits, and that failure to complete the Project by

       the end 2020 would have a material unfavorable impact on revenues.

    64. In SCANA’s Form 10-Q filed on November 4, 2016:

              SCANA stated again, “Under the BLRA, the SCPSC has approved,
              among other things, a milestone schedule and a capital costs estimates
              schedule for the New Units. This approval constitutes a final and
              binding determination that the New Units are used and useful for utility
              purposes, and that the capital costs associated with the New Units are
              prudent utility costs and expenses and are properly included in rates so
              long as the New Units are constructed or are being constructed within
              the parameters of the approved milestone schedule, including specified
              schedule contingencies, and the approved capital costs estimates
              schedule.”

              SCANA stated, “On May 26, 2016, SCE&G petitioned the SCPSC
              seeking approval to update the capital cost schedule and construction
              milestone schedule for the New Units consistent with the October 2015
              Amendment. Within this petition, SCE&G also informed the SCPSC that
              is had notified WEC of its intent to elect the fixed price option, subject to
              concurrence by the Santee Cooper and approval by the SCPSC. The
              petition reflected an increase in total project costs of approximately $852
              million over the cost approved by the SCPSC in September 2015, of
              which approximately $505 million is directly attributable to the fixed
              price option. SCE&G’s estimated gross construction cost for the project
              is now estimated to be approximately $7.7 billion, including owner’s
              costs, transmission, escalation and AFC. After receiving Santee
              Cooper’s concurrence in June 2016, SCE&G executed the fixed price
              option on July 1, 2016, subject to SCPSC approval.”

       Again, Defendants and SCANA failed to disclose the existence of known trends

       or uncertainties within the Company regarding the Project, namely, that

       SCANA was not going to be able to complete construction of the Project

       by the end of 2020, was not going to be eligible to receive $1.4 billion in

       Nuclear Tax Credits, and that failure to complete the Project by the end

       2020 would have a material unfavorable impact on revenues.




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    65. In SCANA’s Form 10-K filed on February 24, 2017:

              SCANA stated again, “Under the BLRA, the SCPSC has approved,
              among other things, a milestone schedule and a capital costs estimates
              schedule for the New Units. This approval constitutes a final and
              binding determination that the New Units are used and useful for utility
              purposes, and that the capital costs associated with the New Units are
              prudent utility costs and expenses and are properly included in rates so
              long as the New Units are constructed or are being constructed within
              the parameters of the approved milestone schedule, including specified
              schedule contingencies, and the approved capital costs estimates
              schedule.”

       Again, Defendants and SCANA failed to disclose the existence of known trends

       or uncertainties within the Company regarding the Project, namely, that

       SCANA was not going to be able to complete construction of the Project

       by the end of 2020, was not going to be eligible to receive $1.4 billion in

       Nuclear Tax Credits, and that failure to complete the Project by the end

       2020 would have a material unfavorable impact on revenues.

    66. SCANA’s March 29, 2017 Proxy Statement filed with the SEC included a

       “Chairman’s Letter and 2016 Highlights.” Again, SCANA stated in its Proxy

       Statement, “Under the BLRA, the SCPSC has approved, among other things, a

       milestone schedule and a capital costs estimates schedule for the New Units. This

       approval constitutes a final and binding determination that the New Units are used

       and useful for utility purposes, and that the capital costs associated with the New

       Units are prudent utility costs and expenses and are properly included in rates

       so long as the New Units are constructed or are being constructed within the

       parameters of the approved milestone schedule, including specified schedule

       contingencies, and the approved capital costs estimates schedule.”

    67. In SCANA’s Form 10-Q filed on May 5, 2017:

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              Again, Defendants and SCANA stated, “Under the BLRA, the SCPSC
              has approved, among other things, a milestone schedule and a capital
              costs estimates schedule for the New Units. This approval constitutes a
              final and binding determination that the New Units are used and useful
              for utility purposes, and that the capital costs associated with the New
              Units are prudent utility costs and expenses and are properly included in
              rates so long as the New Units are constructed or are being constructed
              within the parameters of the approved milestone schedule, including
              specified schedule contingencies, and the approved capital costs
              estimates schedule.”

       Again, SCANA failed to disclose the existence of known trends or

       uncertainties within the Company regarding the Project, namely, that

       SCANA was not going to be able to complete construction of the Project

       by the end of 2020, was not going to be eligible to receive $1.4 billion in

       Nuclear Tax Credits, and that failure to complete the Project by the end

       2020 would have a material unfavorable impact on revenues.

    68. In SCANA’s Form 10-Q filed on May 5, 2017, again, SCANA stated, “Under the

       BLRA, the SCPSC has approved, among other things, a milestone schedule and a

       capital costs estimates schedule for the New Units. This approval constitutes a

       final and binding determination that the New Units are used and useful for utility

       purposes, and

       “that the capital costs associated with the New Units are prudent utility costs
       and expenses and are properly included in rates so long as the New Units are
       constructed or are being constructed within the parameters of the approved
       milestone schedule, including specified schedule contingencies, and the
       approved capital costs estimates schedule.”

    69. SCANA’s Form 8-K filed on July 31, 2017 included a Abandonment Press

       Release that misled investors into believing Westinghouse’s bankruptcy was the




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              primary reason SCANA chose to abandon the Nuclear Project, and continued to

              conceal Bechtel’s earlier negative findings.

              “We arrived at this very difficult but necessary decision following months of
              evaluating the [P]roject from all perspectives to determine the most prudent
              path forward. Many factors outside our control have changed since inception
              of this [P]roject. Chief among them, the bankruptcy of our primary
              construction contractor, Westinghouse. . .” Similarly, that same day during the
              July 31, 2017 Abandonment Conference Call, Marsh affirmed that SCANA’s
              actions met the test for prudency, and placed the blame for the Nuclear
              Project’s demise on “the failure of Westinghouse to deliver on its fixed price
              contract.” Furthermore, Marsh explained that the “Westinghouse bankruptcy
              removed the benefits and protection of the [F]ixed [P]rice [O]ption,” which
              caused “SCANA and our project co-owner, Santee Cooper, to reevaluate the
              entire new [N]uclear [P]roject from all perspectives.”

           DELOITTE’S FIDUCIARY DUTY TO PLAINTIFF AND PLAINTIFFS

           CLASS

           70. Every audit report of SCANA by Deloitte for years 2014-2017 was a “clean

              opinion”. Deloitte represented that the financial statements were fairly presented

              in all material respects. Deloitte gave SCANA the highest-level audit report that a

              Certified Public Accounting Firm may give a client. Deloitte knew that their

              opinions were false and materially misleading to investors when they were given

              to the public.

           DELOITTE KNEW FROM THE BEGINNING OF SOUTH CAROLINA

           PROJECT THAT SCANA DID NOT HAVE FINANCIAL ABILITY TO

           BUILD THE NUCLEAR FACILITY WITHOUT TAX CREDITS AND BSLRA

           71. Throughout the Class Period, Deloitte failed to adequately assess the significant

              risks associated with the SCANA engagement.

           72. Deloitte knowingly or recklessly abdicated its responsibilities in connection with

              its audits of SCANA’s financial statements for fiscal years 2014 through 2017.

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       Had Deloitte conducted its audits in compliance with Generally Accepted

       Auditing Standards (“GAAS”) and PCAOB standards, it would have told the

       public the truth. By issuing “clean opinions” for the 2015 to 2017 fiscal years, and

       failing to disclose adverse material facts. Deloitte knowingly or recklessly

       disregarded the truth concerning the progress and significant material weaknesses

       in the Company’s internal controls, specifically, internal controls relating to the

       way the Company portrayed the nuclear plant construction schedule. Furthermore,

       the Defendants overstated assets, overstated earnings, understated liabilities, and

       artificially inflated stock valuations.

                                VI.     SCIENTER

    73. From January 31, 2015 to December 31, 2016, SCANA officials repeatedly

       represented that the Guaranteed Substantial Completion Date (“GSCD”) for

       Nuclear Project Unit 2 and Unit 3 were August 31, 2019 and August 30, 2020,

       respectively. These statements were blatant lies, and Deloitte knew that the

       statements were false, but continued to issue unqualified opinions.

    74. Including and in addition to the materially false and misleading statements and

       omissions set forth above, Defendants made the following material false and

       misleading statements and omissions during the Class Period with knowledge or

       reckless disregard for their falsity at the time they were made. Indeed, as

       explained above, during the Class Period, Deloitte knew that (i) the Nuclear

       Project would not be completed in 2020; (ii) the costs of the Nuclear Project

       would be, at least, $935 million to $1.45 billion greater than represented; (iii)

       SCANA would be ineligible to receive the $1.4 billion in Nuclear Tax Credits;



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       (iv) the Nuclear Project was not progressing toward a 2020 completion date

       because the monthly progress rates never came close to the needed rate of 2.5% to

       3% per month; (v) SCANA’s oversight was completely inadequate to “bring the

       project to completion;” (vi) SCANA’s May 2016 election of the fixed price option

       would likely force Toshiba and/or Westinghouse into bankruptcy, dooming the

       Nuclear Project, and (vii) Defendants’ affirmative commitment to heightened

       transparency at the start of the Class Period was patently false as SCANA buried

       the Deloitte Special Audit Report and the Bechtel Assessment and Report, as well

       as the monthly progress reports and other internal documents that revealed the

       fraud.

    75. Deloitte not only did the annual audit, but also was retained in 2015 to do a

       “special” audit of VC Summer project costs. Deloitte knew from

       contemporaneous presentations, reports, analyses, and correspondence that

       individually and collectively informed Deloitte that SCANA’s public statements

       concerning the status of the Project were materially false and misleading when

       made. The failure to disclose the Deloitte Special Audit Report and the Bechtel

       Reports and other information regarding the viability of the Project are strong

       evidence of Scienter.

    76. Deloitte knew that the monthly progress rate at the Project never tipped 0.8%,

       which means that there was no material improvement in progress throughout the

       Class Period. Deloitte’s concealment is even more incriminating when viewed in

       the context that the Project was the single most important component of

       SCANA’s business and financial statements during the Class Period. Deloitte



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       was motivated to keep the Project running so that SCANA could reap the benefits

       of the nine rate hikes permitted under the BLRA and approved by the PSC.

       Deloitte, being the largest auditor of investor-owned utilities in the United States,

       clearly knew how important to investors it was that the projects were on schedule.

                          VII.    LOSS CAUSATION

    77. Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

       Plaintiff and the Class to suffer substantial losses. During the Class Period,

       Plaintiff and the Class purchased SCANA securities at artificially inflated prices

       and were damaged thereby when the price of SCANA securities declined when

       the truth was revealed. The price of SCANA securities significantly declined

       (causing investors to suffer losses) when the Defendants’ misrepresentations,

       and/or the information alleged herein to have been concealed from the market,

       and/or the effects thereof, were revealed, and/or the risks that had been

       fraudulently concealed by the Defendants materialized.

    78. Specifically, Defendants’ materially false and misleading statements

       misrepresented, inter alia, the status of the Nuclear Project (including the

       schedule for its completion, total costs, SCANA’s ability to qualify for the crucial

       Nuclear Tax Credit, and the progress of construction), SCANA’s purported

       commitment to honesty and transparency about the project, the prudency of

       SCANA’s management of the project, the likelihood and impact or a potential

       Toshiba and/or Westinghouse bankruptcy, and the ongoing viability of the

       project. When those statements were corrected and the truth revealed, investors

       suffered losses as the prices of SCANA securities declined. Because of the



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              disclosure of the truth of the Defendants’ fraud, SCANA’s common stock price

              declined over 50%, from a high closing price of $76.12 per share on July 6, 2016,

              to a closing price of $37.39 per share on December 21, 2017.

              The disclosures that corrected the market prices of SCANA securities and/or

              revealed a previously concealed, materialized risk to reduce the artificial inflation

              caused by the Defendants’ materially false and misleading statements and

              omissions are detailed below and summarized in the following chart.

              Specifically, the chart identifies each corrective disclosure and/or materialization

              of the risk event, the price declines in SCANA common stock resulting from the

              event, and, for purposes of comparison, the percentage change in the S&P 500

              Index on each event date:

                                                                    Common
                                                     Closing        Stock           S&P 500
                                                     Stock          Price           Price
Date*        Corrective Event                        Price          Change          Change
 12/27/2016 Toshiba announced estimated              $ 72.92        - 2.03%         - 0.82%
(12/28/2016) impairment of billions of dollars
             connected to Nuclear Project.

02/14/2017    Toshiba announced $6.3 billion         $ 66.86        - 4.53%           0.43%
              writedown related to nuclear
              program and reported that it may
              have to sell its stake in
              Westinghouse.

02/16/2017    SCANA holds conference call        $ 67.32            - 0.22%         - 0.08%
              and discusses Toshiba announcement
              and possible impact on SCANA and
              Nuclear Project.

03/22/2017    Morgan Stanley issues report           $ 67.74        - 0.78%           0.19%
              predicting “further cost overruns
              and delays” at the Nuclear Project
              and estimating that total costs
              would be 108% above the original

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                                                              Common
                                                  Closing     Stock         S&P 500
                                                  Stock       Price         Price
Date*         Corrective Event                    Price       Change        Change
              cost estimate, and $5.2 billion
              greater than most recent cost
              estimate.

03/22/2017 News coverage of Morgan Stanley $ 66.71            - 1.52%       - 0.10%
(03/23/2017) report and publication of Reuters
             article reporting that Westinghouse
             had secured bankruptcy counsel
             and indicating that bankruptcy
             announcement was imminent.

07/27/2017 SCANA and Santee Cooper                $ 61.29     - 6.63%       - 0.13%
(07/28/2017) announce that (i) Toshiba
             agreement to honor its $2.168
             billion parental guidance will
             not be sufficient as the costs of
             the two Units will “materially
             exceed” prior estimates, and
             (ii) the Nuclear Project will not
             be completed by 2021, “the
             current deadline for SCE&G
             to gain production tax credits
             for completing the reactors.

08/02/2017 Following news covering                 $ 65.34    - 2.70%       - 0.20%
(08/03/2017) testimony by Marsh, Byrne,
             and Addison before the PSC, which
             stated it was “a grim day” and that the
             “Commission was blindsided,” South
             Carolina lawmakers form South Carolina
             Energy Caucus in response to SCANA’s
             decision to abandon the Nuclear Project,
             with a goal to force “the shareholders of
             SCANA Corp. to eat any remaining
             costs to be tied to thehigh-profile
             cancellation of two multi-billion-dollar
             nuclear reactors.

08/04/2017    South Carolina Attorney General     $ 63.79     - 2.37%       - 0.19%
              announced initiation of an
              investigation into SCANA
              “to ensure that all laws were

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                                                                Common
                                                   Closing      Stock         S&P 500
                                                   Stock        Price         Price
Date*        Corrective Event                      Price        Change        Change
             complied with and all applicable
             procedures were followed,” and
             news that legislators were planning
             on closely investigating SCANA’s
             abandonment petition.

08/09/2017 It is reported that the ORS moved     $ 62.01        - 1.10%       - 1.41%
(08/10/2017) to dismiss SCANA’s abandonment
             petition, and the Speaker of South
             Carolina’s House of Representatives
             intervened to join that motion.

08/10/2017 Post and Courier article reported    $ 60.69         - 2.13%         0.13%
(08/11/2017) that Marsh told lawmakers that he
             would not want to take on the
             Nuclear Project now “after it fell
             years behind schedule” and soared
             “billions of dollars over budget.”
             Article also reported lawmaker
             statements unless SCANA pulled
             its request to charge ratepayers
             for the failed project, “you may
             force the General Assembly to be
             more rash than we would otherwise
             want to be.”

09/07/2017   Articles report on the fallout from $ 59.58          - 0.75%       0.01%
             the release of the Final Bechtel
             Report and the release of internal
             documents and communications that
             revealed new information about SCANA
             executives’ knowledge of the significant
             risks facing the Nuclear Project at least
             by February 2016, as well as knowledge
             of a significant risk of bankruptcy facing
             Toshiba and Westinghouse and the adverse
             impact on the viability of the Nuclear Project from early in 2016.

09/21/2017 SCANA announces that it had been $ 55.22             - 3.43%       0.07%
(09/22/2017) served with a subpoena from the
             U.S. Attorney; followed by news
             of a federal grand jury being

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                                                                 Common
                                                    Closing      Stock         S&P 500
                                                    Stock        Price         Price
Date*         Corrective Event                      Price        Change        Change
              convened to look into SCANA’s
              role in the failed Nuclear Project.
              Lawmakers make public comments
              that the U.S. Attorney could uncover
              securities fraud violations.
              On September 22, 2017, an article is
              published detailing the insider trading
              of certain SCANA executives.

09/26/2017 South Carolina Attorney General       $ 51.22         - 7.83%         0.41%
(09/27/2017) issues opinion that BLRA was
             “constitutionally suspect,” calling
             into question its enforceability.
             ORS then filed a request with the
             PSC to block SCANA from
             charging ratepayers going forward,
             and force SCANA to refund
             ratepayers for prior charges.
             On 09/27/2017, The State reported
             on the existence of an earlier
             Bechtel Report suggesting that
             the initial report was “originally
             much worse.”

09/29/2017    Credit rating agencies Fitch and    $ 48.49        - 4.90%         0.37%
              Standard & Poor’s both downgrade
              SCANA’s credit ratings and place
              SCANA on a negative “watch” lists,
              indicating further downgrades might
              be in store.

10/19/2017    South Carolina Governor McMaster $ 48.65           - 0.98%         0.04%
              asks SCANA to stop charging
              customers for Nuclear Project, and
              to use the $2 billion from Toshiba
              to repay those customers rather than
              fund the Nuclear Project.

10/26/2017 Earnings declined to $34 million,        $ 46.50      - 2.78%         0.81%
(10/27/2017) driven in large part by a $210 million
             impairment taken on the grounds
             that “the public, political and

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                                                                   Common
                                                    Closing        Stock           S&P 500
                                                    Stock          Price           Price
Date*        Corrective Event                       Price          Change          Change
             regulatory response to the
             abandonment decision has been
             extremely contentious.”

10/31/2017   Marsh resigns after news of his        $ 43.14        - 6.03%           0.10%
             ouster.

12/20/2017   The PSC denies request to dismiss $ 37.39             - 9.51%           0.20%
             rate relief suit; Morgan Stanley
             report on 12/21/2017 writes that
             petitioner success in any pending
             cases before PSC would dramatically
             reduce SCANA value.

                                             * Date of stock price drop indicated in parentheses.

         79. The timing and the magnitude of the price declines in SCANA’s common stock

             negate any inference that the losses suffered by Plaintiff and the other Class

             members were caused by changed market conditions, macroeconomic or industry

             factors or Company-specific facts unrelated to Defendants’ fraudulent conduct.

             Indeed, analyst commentary after each corrective disclosure and/or

             materialization of the risk event attributed the large negative reaction in the stock

             specifically to the alleged disclosures.

             VIII.     DELOITTE AUDITS WERE NO AUDITS AT ALL

         80. Deloitte knew SCANA’S and SCE&G’S financial condition from the beginning

             of the South Carolina Project. Deloitte knew that the securing of the tax credits

             was crucial to finishing the Project. Deloitte’s accounting practices were so

             deficient that the audit amounted to no audit at all, or an egregious refusal to see

             the obvious, or to investigate the doubtful, or that the accounting judgments which



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       were made were such that no reasonable accountant would have made the same

       decisions if confronted with the same facts.

       The red flags should have been clearly evident to any auditor performing its

       duties. Deloitte deliberately chose to disregard the red flags to avoid revealing

       the truth to the public that the tax credit deadline would not be achieved.

    81. Deloitte’s client, The Southern Company, experienced the same issues in Georgia.

       Deloitte had the unique knowledge of auditing all four AP1000 Westinghouse

       units in the United States.

    82. SCANA hired Deloitte to do a “special audit” of construction costs in 2015.

       Auditing construction costs could not have been done without knowledge of

       construction progress.

    83. Upon information and belief, Deloitte had knowledge of Bechtel’s role months

       before the Bechtel Report was finished in late 2015.

    84. Upon information and belief, almost all of the executives and board members of

       SCANA were former Deloitte employees. Marsh, Addison, Swan and Aliff were

       the relevant people who knew of SCANA’s construction fiasco even before the

       Bechtel Report was written.

               IX.    INAPPLICABILITY OF SAFE HARBOR

    85. The statutory safe harbor applicable to forward-looking statements under certain

       circumstances does not apply to any of the false or misleading statements pleaded

       in this Complaint. The statements complained of herein were historical

       statements or statements of current facts and conditions at the time the statements

       were made. For example, many of the statements relate to the current or historical



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       status of the new nuclear unit project at VC Summer, including that the project is

       progressing well or that prior challenges have been resolved. To the extent that

       any of these statements might be construed to touch on the future intent, they are

       mixed statements of present facts and future intent and are not entitled to safe

       harbor protection with respect to the part of the statement that refers to the

       present. Further, to the extent that any of the false or misleading statements

       alleged herein can be construed as forward-looking, the statements were not

       accompanied by any meaningful cautionary language identifying important facts

       that could cause actual results to differ materially from those in the statements.

                     X.     PRESUMPTION OF RELIANCE

    86. Plaintiff is entitled to a presumption of reliance under Affiliated Ute Citizens of

       Utah v. U.S., 406 U.S. 128 (1972), because the claims asserted herein against

       Deloitte are predicated in part upon material omissions of fact that Deloitte had a

       duty to disclose.

    87. In the alternative, Plaintiff is entitled to a presumption of reliance on Deloitte’s

       material misrepresentations and omissions pursuant to the fraud-on-the-market

       doctrine because, at all relevant times, the market for SCANA securities was

       open, efficient, and well-developed.

    88. As a result of the foregoing, the market for SCANA securities promptly digested

       current information regarding SCANA from all reliable, publicly-available

       sources and reflected such information in the price of SCANA’s securities. Under

       these circumstances, purchasers of SCANA securities during the Class Period




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             suffered injury through their purchase of SCANA securities at artificially-inflated

             prices and a presumption of reliance applies.

         89. Accordingly, Plaintiff and other members of the Section 10(b) Class did rely and

             are entitled to have relied upon the integrity of the market price for SCANA

             securities and to a presumption of reliance on Defendants’ materially false and

             misleading statements and omissions during the Class Period. Additionally,

             Plaintiff and the Class are entitled to a presumption of reliance because the claims

             asserted herein against Deloitte are also predicated upon omissions of material

             fact, which there was a duty to disclose.

                         XI.     FRAUDULENT CONCEALMENT

         90. The Plaintiff and Plaintiff Class allege that (1) Deloitte intentionally and/or

             recklessly failed to warn the investor/public at any time during the Class Period

             that the construction schedule was so far behind that the tax credits would never

             be collected, (2) Further that Deloitte took affirmative action and/or remained

             silent and failed to disclose material facts despite their duty to do so, (3) Further

             the Plaintiff and Plaintiff Class could not have discovered the Cause of Action

             despite exercising reasonable care and diligence, (4) Deloitte was aware of the

             wrong, and (5) The concealed information was material to Plaintiff and Plaintiff

             Class.

                       XII.     CAUSE OF ACTION COUNT ONE

For Violation of Section 10b of The Exchange Act and Rule 10b-5 (Against All Defendants)

         91. Plaintiff incorporates by reference each and every preceding paragraph as though

             fully set forth herein.



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    92. Plaintiff asserts this Count pursuant to §10b of the Exchange Act and Rule 10b-5

       promulgated thereunder against Defendants Deloitte & Touche, LLP and Deloitte,

       LLP.

    93. During the Class Period, Defendants disseminated or approved of the false

       statements set forth above, which they knew or deliberately disregarded, were

       false and misleading in that they contained misrepresentations and failed to

       disclose material facts necessary in order to make the statements made, in light of

       the circumstances under which they were made, not misleading.

    94. Upon information and belief Defendants violated 10b of the Exchange Act and

       Rule 10b-5 in that they:

       i.      Employed devices, schemes, and artifices to defraud;

       ii.     Made or caused to be made untrue statements of material facts or omitted

               to state material facts necessary in order to make the statement made, in

               light of the circumstances under which they were made, not misleading; or

       iii.    Engaged in acts, practices, and a course of business that operated as a

               fraud or deceit upon Plaintiff and others similarly situated in connection

               with their purchase of SCANA securities during the class period.

    95. By virtue of their positions at SCANA, as SCANA’s outside auditor and auditor

       in charge of special audits, upon information and belief Defendants had actual

       knowledge of the materially false and misleading statements and material

       omissions alleged herein, and intended thereby to deceive Plaintiff and the other

       members of the Class, or in the alternative, Defendants acted with reckless

       disregard for the truth in that they failed or refused to ascertain and disclose such



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       facts as would reveal the materially false and misleading nature of the statements

       made, although such facts were readily available to Defendants. Said acts and

       omissions of Defendants were committed willfully or with reckless disregard for

       the truth. In addition, each Defendant knew or recklessly disregarded that

       material facts were being misrepresented or omitted as described above.

    96. Information showing that Defendant Deloitte acted knowingly or with reckless

       disregard for the truth is peculiarly within Defendants’ knowledge and control.

       Defendant Deloitte had knowledge of the details of SCANA’s internal affairs. As

       a result of the dissemination of false and misleading reports, releases, and public

       statements, the market price of SCANA securities was artificially inflated

       throughout the Class Period. In ignorance of the adverse facts concerning

       SCANA’s business and financial condition which were concealed by Defendant

       Deloitte, Plaintiff and other members of the Class purchased or otherwise

       acquired SCANA securities at artificially-inflated prices and relied upon the

       prices of the securities, the integrity of the market for the securities, and/or upon

       statements disseminated by Defendant Deloitte, and were damaged thereby.

    97. Plaintiff and other members of the Class have suffered damages in that, in

       reliance on the integrity of the market, they paid artificially inflated prices for

       SCANA securities. Plaintiff and other members of the Class would not have

       purchased SCANA securities at the prices they paid, or at all, if they had been

       aware that the market prices had been artificially and falsely inflated by

       Defendant Deloitte’s misleading statements.




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                                 XIII.   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment as follows:

               A.      This action may proceed as a class action, with Plaintiff as the designated

                       representative of the applicable Cause of Action.

               B.      Plaintiff and the members of the Class recover damages sustained by

                       them, as provided by law, and that a judgment in favor of Plaintiff and

                       Class be entered against Deloitte in an amount permitted pursuant to

                       such law;

               C.      Plaintiff and members of the Class be awarded pre-judgment and post-

                       judgment interest, and that such interest be awarded at the highest legal

                       rate from and after the date of service of the initial Complaint in this

                       action;

               D.      Plaintiff and members of the Class recover their costs of this suit,

                       including reasonable attorneys’ fees as provided by law; and

               E.      Plaintiff and members of the Class receive such other and further relief

                       as may be just and proper.

                                 XIV.    JURY TRIAL DEMAND

       Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of all

of the claims asserted in this Complaint so triable.




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Respectfully submitted this, the 22nd day of November, 2019.


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